      Case 1:23-mi-99999-UNA Document 2899-5 Filed 09/08/23 Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CHELSEA DAVIS,                                )
    Plaintiff,                                )
                                              )           Civil Action File
v.                                            )           No.
                                              )
KHUSHWANT BHATIA,                             )
                                              )
                                              )
      Defendant.                              )
                                              )

                                   SUMMONS

To:
Khushwant Bhatia
3740 Davinci Court
Ste 350
Norcross, GA 30092

      A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day
you received it)—or 60 days if you are the United States or a United States agency,
or an officer or employee of the United States described in Fed. R. Civ. P. 12 (a)(2)
or (3)—you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff’s attorney, whose name and address are:

      The Clifton Law Firm, LLC
      James W. Clifton
      125 Flat Creek Trail
      Suite 120
      Fayetteville, Georgia 30214
      (770) 828-7339
      (770) 744-3896 (facsimile)
      james.clifton@cliftonlawfirm.com
      Case 1:23-mi-99999-UNA Document 2899-5 Filed 09/08/23 Page 2 of 2




       If you fail to respond, judgment by default will be entered against you for the
relief demanded in the complaint. You also must file your answer or motion with
the court.



                                              CLERK OF COURT


Date:___________________                      ______________________________
                                              Signature of Clerk or Deputy Clerk
